 

Case 1:12-cv-OO447-RDB Document 7 Filed 03/16/12 Page 1 of 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DONALD W. MARVIN, *
Plainnf)j€ * Case No.: 12-cv-44'7
v. * Filed Electronically

ATM sYsTEMs coRPoRATION *
and DOES 1-10, inclusive,

Defendants.
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I E F L Y I MI AL PRE DI E
Plaintiffs dismiss this action with prejudice

Dated: March 15, 2012 Respectfully Submitted,

/s_/ E. Dauid Hoskins _
E. David Hoskins, Bar No. 06705
LAW OFFICES OF E. DAVID HOSKINS, LLC
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h, 2012.

Request GRANTED Th`\s 15th Day of Marc

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Richard D. B¢_enm=;'rtl q
United States Distnct Judge

 

 

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Case 1:12-cv-00447-RDB Document 5 Fi\ed 03}'15/12 Page 2 of 2

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I hereby certify that on this 15th day of March, 2012, a copy of the foregoing was
served via e- -mail on the following

cwheeler@HlighesBentzen.ggm
Christopher Wheeler, Esquire
Hughes & Bentzen, PLLC

1100 Connecticut Avenue, N.W.
Suite 340

Washington, D.C. 20036

This 15th day of March, 2012. /s/ E. David Hoskins

